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                        Exhibit 
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



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                                                       Evidence Packet P.0734
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                                                       Evidence Packet P.0739
